      Case 1:17-md-02800-TWT Document 188 Filed 02/02/18 Page 1 of 20




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION



 IN RE: EQUIFAX, INC CUSTOMER
 DATA SECURITY BREACH                           MDL Docket No. 2800
 LITIGATION



           APPLICATION TO APPOINT SCOTT COLE TO THE
           CONSUMER PLAINTIFFS’ STEERING COMMITTEE


      At each step of this litigation, Scott Cole (“Cole”) of Scott Cole & Associates

(“SCA”) has led by example and been highly proactive. Rather than sitting idly by,

waiting to respond to Equifax’s requests and overtures, or simply letting others do

the work, Cole did what he has done for over 25 years: he stepped up and took

charge—in this case launching an extensive investigation, interviewing and/or

retaining experts, reaching out to defense counsel and other plaintiffs’ attorneys to

coordinate efforts, traveling to St. Louis to attend the Judicial Panel on Multidistrict

Litigation hearing, working with what was a relatively short list of attorneys who

prepared key documents for this Court (e.g., CMO No. 2, the Preliminary Report) in

advance of the Case Management Conference, traveling to Atlanta to attend the Case

Management Conference and the proposed after-conference meeting of lawyers and,

now, seeking appointment as a member of the Consumer Plaintiffs’ Steering


                                           1
       Case 1:17-md-02800-TWT Document 188 Filed 02/02/18 Page 2 of 20




Committee 1—a member who will offer not only his extensive experience, resources

and creativity but important insights regarding California substantive law, class

action procedure and negotiation strategies (as a trained mediator and speaker on

this topic).

       Having successfully litigated hundreds of class actions, most often in a sole

and/or lead capacity, Cole more than exceeds the criteria set forth by the Court. On

behalf of his lead client Andrew Galpern (Case No. 5:17-cv-05265-BLF), and

pursuant to Case Management Order No. 1 (Dkt. 23) and No. 2 (Dkt. 87), and

Federal Rules of Civil Procedure Rule 23(g), Cole hereby submits his application

for appointment to the Consumer Plaintiffs’ Steering Committee.



I.     COLE HAS DEMONSTRATED LEADERSHIP IN THIS ACTION

       On Thursday, September 7, 2017, Equifax belatedly confessed that, due to

negligently maintained software, hackers had gained access to the sensitive personal

information of approximately 143 million Americans stored on Equifax’s

database(s). Shortly thereafter, SCA was inundated with calls, emails, and drop-in

visits from ordinary Americans who were concerned that a company like Equifax,


1
  Specifically, this Application supports Cole's appointment to the Consumer
Plaintiffs’ Steering Committee and not (in the event two separate committees are
formed) any Committee established to lead the Financial Institution litigation track.
Cole believes the issues germane and unique to these two tracks makes establishment
of two separate committees the better approach.
                                         2
      Case 1:17-md-02800-TWT Document 188 Filed 02/02/18 Page 3 of 20




whom they trusted to maintain their personal information, could fail to ensure even

the most basic protections. The following Tuesday, September 12, 2017, SCA was

one of the first firms 2 to file a Complaint against Equifax, Inc. on behalf of one of

the many aggrieved individuals who contacted the firm. 3

      From the moment the first client called, Cole’s intent has always been to take

a leadership role in this case. Unlike many tag-along firms that sue and then let other

attorneys do the heavy-lifting, Cole has remained engaged in the ongoing litigation.

Shortly after filing, Cole coordinated with other firms to move to consolidate the

cases in Northern District of California because of the availability of witnesses,

experts, and co-defendants in the Northern District of California. Next, Cole reached

out to various experts to learn more about data breaches, and Equifax in particular.

At this point, he has consulted and/or retained experts in credit reporting, credit

services, and data breaches—including one who has survived Daubert challenges by

Equifax itself in both state and federal courts. All the while, Cole’s firm fielded calls

from consumers and press inquiries (even being called upon by well over a dozen



2
  Note that SCA is joined in the litigation of the Galpern matter by Timothy
Rumberger, Esq., an attorney with nearly 30 years of litigation experience, much of
it being in litigation against credit agencies, and who would expand upon the
already-impressive team at Cole’s firm.
3
  By the time of filing this Application, SCA has already been retained by many
individuals beyond the name plaintiff, so it has many good choices of representative
plaintiffs to put up once discussion of a Model Complaint is underway.
                                           3
       Case 1:17-md-02800-TWT Document 188 Filed 02/02/18 Page 4 of 20




television, radio and print news sources for interviews as an expert in class action

litigation), as news of the extent of Equifax’s malfeasance continued to unfold.

       Cole filed a Response in Opposition to the Motions for Transfer of Actions

on September 21, 2017 (one of the first filed in this action, and the first to request

transfer to the Northern District of California), and then initiated an effort to meet

and confer with other firms advocating for consolidation and transfer to the

California venue. Throughout this process, Cole endeavored to coordinate strategy

and build consensus without compromising his duty to represent his client’s

interests.

       With no guarantee of speaking time or other personal benefit, Cole traveled

to the Judicial Panel on Multidistrict Litigation (“JPML”) hearing in St. Louis,

Missouri, on November 30, 2017 to liaise with other firms, specifically those

advocating for the Northern District of California. While he ultimately deferred to

Ms. Cabraser when the Court’s clerk asked for the lawyers to consolidate their

arguments through one lawyer, Cole met and conferred with Ms. Cabraser and her

colleague beforehand to discuss strategy and help prepare for oral presentation.

       Although Cole initially moved to consolidate and transfer the actions to the

Northern District of California, the JPML’s well-reasoned decision to consolidate

the actions in the Northern District of Georgia has not dampened his enthusiasm

toward this case or interest in its leadership. On December 29, 2017, Cole continued


                                          4
      Case 1:17-md-02800-TWT Document 188 Filed 02/02/18 Page 5 of 20




his collaborative efforts, providing substantial feedback through numerous emails

and revisions to Proposed Case Management Order No. 2 being circulated by a small

segment of plaintiffs’ firms in the MDL. On January 2, 2018, Cole participated in a

conference call with those firms interested in MDL leadership in this case. That same

day, one of his associate attorneys participated in yet another conference call with

several firms advocating for a small business track. These prudent efforts came with

no guarantee of a leadership role, but Cole knew it was important to his clients and

consumer plaintiffs to foster a spirit of collaboration with other counsel, present a

united front at the Case Management Conference in Atlanta, Georgia the following

week, and build a strategic foundation for success going forward.

      On January 9, 2018, Cole travelled to Atlanta for the Case Management

Conference, where he met with fellow plaintiffs’ attorneys and discussed future

coordination. That planning and coordination continue to this day.



II.   THIS PLAINTIFFS’ STEERING COMMITTEE

      To echo a sentiment expressed at the January 9, 2018 Case Management

Conference, the Court should appoint to the Plaintiffs’ Steering Committee not law

firms, but lawyers. Indeed, a law firm is no better than the people it employs and,

less directly, its reputation, culture and standards for excellence. These elements are

generally driven by a few or even one top individual and then trickle down to others


                                          5
       Case 1:17-md-02800-TWT Document 188 Filed 02/02/18 Page 6 of 20




in the firm. But this Court should know what it is getting at the outset by picking a

Plaintiffs’ Steering Committee of individual advocates, not merely the entities for

whom those advocates are currently employed. This approach will guarantee a team

of people committed to creatively, aggressively and efficiently leading this case to

resolution.

       In the appointment of Scott Cole to the Plaintiffs’ Steering Committee, this

Court will get the best of both worlds: a proven advocate with decades of class action

experience and a record of success against companies and law firms of all sizes, as

well as his hand-picked team of attorneys and support personnel that shares his

vision and standards, and who will—each one of them—be dedicated to working

with Cole under his close direction. Cole is one of those very few attorneys who has

demonstrated the requisite initiative and possesses the credentials to be appointed to

the Plaintiffs’ Steering Committee. The events preceding this application evidence

that. The significant amount of time Cole has already devoted to this action strongly

suggests his intent to do the same going forward.



III.   ATTORNEY & FIRM OVERVIEW

       In a career spanning over a quarter century, hundreds of complex cases, and

recovery of hundreds of millions of dollars for his clients and class members—and

not just through a few “big wins” or being just one vote in the resolution of a few


                                          6
      Case 1:17-md-02800-TWT Document 188 Filed 02/02/18 Page 7 of 20




national-level consumer cases that, by virtue of a large number of victims, naturally

boast settlement numbers with a lot of zeros—Scott Cole has forged a reputation as

a titan of the plaintiff’s bar. Cole has not just participated in a few key cases with a

few impressive results; he has handled hundreds of class actions, against companies

in every industry imaginable, tackling a wide range of substantive legal issues, and

he has done that usually without back-up.

      One recent achievement exemplifies what this court would be getting in

appointing Cole: In December 2016, after more than 11 years of litigation, the

California Supreme Court held in Augustus v. ABM Security Services, 2 Cal. 5th 257

(2016), that “on-call” break time is compensable—a landmark decision that now

benefits millions of California non-exempt workers. SCA was one of two firms who

primarily worked on the prosecution of this case—a case that ultimately yielded

class certification and a judgment, and then later, a $110 million settlement.

      The success in Augustus, after substantial litigation and its appeals, is a great

example of what Cole does: he does not back down or give up. But Augustus is just

the most recent bookend—the other being Cole’s first class action (with a lot of

books in between). Indeed, in 1994, just two years after forming SCA, Mr. Cole was

appointed to his first steering committee in In Re Unocal Refinery Litigation, Contra

Costa County Superior Court Case No. C94-04141. As described in “Fallout,”

Cole’s forthcoming debut book (in press, Mar. 2018), Unocal involved thousands of


                                           7
      Case 1:17-md-02800-TWT Document 188 Filed 02/02/18 Page 8 of 20




people exposed to odorless toxic chemicals willfully emitted from Unocal’s Rodeo,

California refinery over a 16-day period. What the company did was jaw-dropping

and Cole saw that immediately. He was the first to file a putative class action, then

broke the company’s cover-up to the press, helped the grassroots efforts by

townspeople to create a Good Neighbor Agreement and otherwise put substantial

pressure on the corporation, and helped block issuance of a land use permit, all of

which ultimately demotivated the company from further operating in that town and

led to the refinery’s sale to the Tosco Corp. just two years later.

      The Unocal case spanned several years and, following its $80 million

settlement, Cole appeared and argued at well over 200 separate causation and

damages “prove-up” hearings for his most seriously-injured clients. In Unocal, Cole

not only was an invaluable member of the PSC, he also directly represented roughly

1,100 victims—an impressive statistic given the budding nature of his law practice

and fierce competition for clientele among the scores of law firms swarming to the

scene. Just like Cole’s work in Augustus, his work in Unocal was driven by a strong

determination to level the playing field for the disenfranchised people who, before

the litigation, had virtually no voice. Everything Cole has done in the decades

between these two bookends has been in furtherance of that goal.

      Following Unocal, and having established himself there as an aggressive

litigator and indispensable leadership committee member (despite no prior


                                           8
      Case 1:17-md-02800-TWT Document 188 Filed 02/02/18 Page 9 of 20




background in environmental toxic tort litigation or class actions), Cole went on

immediately to serve as lead counsel among a dozen other firms in In Re Tosco SFR

Litigation, Contra Costa County Superior Court Case No. C97-01637, where he sued

the successor-in-interest to the refinery in the Unocal case on behalf of over 2,000

claimants. He then parlayed that experience and reputation for excellent work to get

appointed as lead counsel again, this time in In Re Westley Tire Fire Litigation, Santa

Clara County Superior Court Case No. CV 801282, and obtained another roughly

$10 million in settlement for residents affected by air, land, and groundwater

contamination. Again, these are just examples, and nowhere near an exhaustive

illustration of Cole’s leadership.

      In addition to his achievements leading cases, Cole has successfully

prosecuted cases in coordination with other firms. For example, in Despres v. United

Parcel Service, Inc., California Northern District Court Case No. 3:03-CV-02987

(TEH) and No. 3:03-CV-02001 (TEH)), Cole served as co-counsel in what was at

the time (and might still be) the largest class action settlement of a meal break-only

case ($87 million-dollar settlement on behalf of a roughly 20,000-person class). Cole

also co-prosecuted, obtained a judgment, and thereafter negotiated a two-tiered $19

million settlement on behalf of fitness club group exercise instructors for unpaid

wage and unreimbursed business expense claims. Fulton v. Sports and Fitness Clubs

of America, dba 24 Hour Fitness, USA, Inc., San Diego County Superior Court Case


                                          9
      Case 1:17-md-02800-TWT Document 188 Filed 02/02/18 Page 10 of 20




No. GIC881669 (consolidated with Case No. GIC873193). See also Securitas

Security Services Cases, Santa Clara County Superior Court Case No. 1-05-CV-

047499 (co-prosecuted and settled a $15 million non-reversionary settlement on

behalf of a class of tens of thousands of security guards for meal and rest break

violations). As the attached firm resume details, this is the tip of the iceberg

regarding Cole’s leadership and results.

      Cole is also an expert negotiator, 4 a skill clearly beneficial to getting cases

resolved, but equally important in resolving discovery and case management

disputes and facilitating communication within Steering Committees. Indeed, Cole

has intensely litigated and then brokered settlements on behalf of many classes. To

wit, he represented a class of retail Assistant Managers for uncompensated time

spent undergoing security checks and failure to provide meal and rest breaks ($7.5

million, Kelly v. Walgreens, San Francisco County Superior Court Case No. CGC-

07-464347), a class of over 1,000 allegedly misclassified retail Store Managers ($6.9

million, Tierno v. Rite Aid Corp., California Northern District Court Case No. 3:05-

CV-02520 (TEH)) and as lead class counsel among many firms for a class of 43,000

Walgreens retail store workers in California ($23 million, In Re Walgreen Co. Wage




4
  Cole is also a trained mediator and provides mediation services through
www.colemediations.com. He has also presented at attorney conferences on class
action procedure as well as negotiation theory and skills.
                                           10
      Case 1:17-md-02800-TWT Document 188 Filed 02/02/18 Page 11 of 20




and Hour Litigation, United States District Court, Central District of California Case

No. 2:11-CV-07664).

      Since founding SCA in 1992, Cole has been principally responsible for

vetting, filing and directing the prosecution of nearly every one of the hundreds of

complex actions he has litigated. For more information about Cole’s record, and the

achievements of SCA, the firm’s resume is attached hereto as Exhibit A.



IV.   SCOTT COLE EXCEEDS THE STANDARDS SET FORTH BY THE
      COURT FOR LEADERSHIP IN THIS MDL
      In its Case Management Order, this Court stated that the “main criteria” for

leadership positions are (1) willingness and ability to commit to a time–consuming

process; (2) ability to work cooperatively with others; (3) professional experience in

this type of litigation; and (4) access to sufficient resources to advance the litigation

in a timely manner. (Id., at 6). Other considerations in Fed. R. Civ. P. 23(g)(1)(A)

include the work counsel has done in identifying or investigating potential claims in

the action and counsel’s knowledge of the applicable law.

      A.     Scott Cole Is Willing and Able to Commit to This MDL

      Scott Cole has already committed to what will likely be an expensive, time-

consuming case. When a call went out to see what firms wanted to be a part of the

leadership of this case, relatively few firms stepped up. Cole’s firm was one that did.

In doing so, Cole has already incurred filing and travel costs, devoted considerable

                                           11
      Case 1:17-md-02800-TWT Document 188 Filed 02/02/18 Page 12 of 20




time, both personally and through his team, brought on experts, searched public

records, interviewed witnesses, researched legal issues, and otherwise conducted

himself as a committed plaintiffs’ attorney should. Cole didn’t wait for the Court to

approve him as a co-leader of this case; he just stepped up.

      Scott Cole has thrived in the competitive class action business because he has

the will and resources to execute complex legal strategies against formidable

adversaries.5 Building on his success, the firm has devoted substantial resources to

cases that last many years, sometimes even more than a decade. The precedent-

setting decision in Augustus v. ABM Security Services, for example, took nearly 12

years—from filing to judgment, appeal, reversal, and eventually settlement.

      In January 2018, in yet another example of the longevity of Cole’s dedication

to the cases he handles, Cole’s seven-year battle against Unity Courier Service, Inc.

(wage-and-hour class action filed in June 2011, later granted class certification)

finally ended with a bankruptcy court honoring his certified class’ $80+ million

claim. United States Bankruptcy Court, Central District of California (Case No.

2:17-bk-13943). While other firms filed related cases, Cole is the only court-

appointed class counsel in this case as well.


5
  Early in his career, Cole’s commitment to his clients’ cause moved him to take out
a second mortgage on his house just to better finance litigation on behalf of claimants
in In re Tosco SFR Litigation, supra. In the two decades and considerable successes
since then, further mortgaging his own home won’t be a concern, but the historical
point illustrates that Cole is an attorney who puts client interests over his own.
                                          12
      Case 1:17-md-02800-TWT Document 188 Filed 02/02/18 Page 13 of 20




      While Cole is intimately familiar with the demands of class action practice,

he also understands the Court’s interest in efficiency. Here, this interest aligns with

that of the putative class. American consumers’ personal information was

compromised and we cannot wait years before it is re-secured; consumer plaintiffs’

attorneys in this MDL must push Equifax hard to act quickly, not merely in providing

monetary compensation, but in taking concrete actions along the way to protect

consumer data and ensure such a breach never occurs again.

      B.     Scott Cole Will Be An Invaluable Team Member

      While Cole has conferred with various attorneys likely to seek leadership

appointments, he has made no promises to support specific candidates and would

gladly work with any of the other accomplished advocates. Under the informal

facilitation of pre-CMC efforts by David J. Worley, plaintiffs’ counsel has thus far

proven to be a talented group capable of working collaboratively—boasting myriad

perspectives, skills and resources. Cole fully intends to continue this approach if the

Court grants him the honor of serving on the Plaintiffs’ Steering Committee.

      As discussed herein, Cole worked collaboratively with other counsel,

generally, since the first cases were filed and, more specifically and recently, assisted

drafting of Proposed Case Management Order No. 2, and the Preliminary Report,

and attended both the JPML hearing in St. Louis and the first Case Management




                                           13
     Case 1:17-md-02800-TWT Document 188 Filed 02/02/18 Page 14 of 20




Conference in Atlanta. He is committed to continuing this hands-on approach as a

member of the Plaintiffs’ Steering Committee.

      C.    Scott Cole Is Experienced in Complex and Class Action Litigation

      Scott Cole has a wealth of experience successfully litigating class actions and

other complex cases. Examples of his achievements include:

   • CKE Overtime Cases, No. BC283274 (JCCP No. 4274) (Los Angeles Sup.

      Ct.): counsel for plaintiffs, achieved $9 million settlement of alleged unpaid

      overtime wages.

   • Despres (Cornn), et al. v. United Parcel Service, Inc., No. 3:03-CV-02001

      (N.D. Cal.): co-counsel for plaintiffs alleging meal period violations on behalf

      of California ground delivery drivers. It settled for $87 million.

   • In Re Walgreen Co. Wage and Hour Litigation, No. 2:11-CV-07664 (C.D.

      Cal): court-appointed lead counsel following consolidation of nine wage-and-

      hour cases, and achieved a $23 million settlement.

   • Kullar v. Foot Locker, Inc., No. CGC-05-447044 (San Francisco Sup. Ct.):

      counsel for plaintiffs alleging retail employer required certain purchases as

      condition of employment. The $2 million settlement was approved and

      withstood multiple appeals by an objector.

   • Mambuki, et al. v. Securitas Security Services USA, Inc., No. 1-05-CV-

      047499 (JCCP No. 4460) (Santa Clara Sup. Ct.): counsel for plaintiffs in

                                         14
      Case 1:17-md-02800-TWT Document 188 Filed 02/02/18 Page 15 of 20




      coordinated action alleging denial of meal and rest periods. It resolved for $15

      million.

   • O’Brien v. Edward D. Jones & Co., LP., No. 1:08-CV-00529 (N.D. OH): lead

      counsel committee members in nationwide and New York state class action

      that recovered $19 million on behalf of financial services representatives.

   • Ramirez, et al. v. The Coca Cola Company, et al., No. RCV 056388 (JCCP

      No. 4280) (San Bernardino Sup. Ct.): co-counsel for plaintiffs on coordinated

      actions alleging off-the-clock wage violations on behalf of more than 4,000

      hourly workers at the company’s bottling, distribution and sales centers. It

      settled for $12 million.

   • Augustus v. ABM Security Services, supra: created important precedent

      regarding on-call breaks and obtained a $110 million settlement after nearly

      12 years of litigation and appeals.

   • Onyeige et al v. Union Telecard Alliance, LLC, MDL 2:05-CV-5802 (D. NJ):

      one of the counsel for plaintiffs alleging negligent misrepresentation and

      deceptive advertising practices against a pre-paid phone card provider. It

      settled for approximately $22 million.

      Currently, Cole is involved with a variety of consumer, privacy, employment,

and anti-trust type cases, including:




                                            15
      Case 1:17-md-02800-TWT Document 188 Filed 02/02/18 Page 16 of 20




   • Ortiz v. Golden State FC (Amazon), No. 4:17-CV-03820-JSW (N.D. Cal.)

      (Hon. Jeffrey S. White): counsel for plaintiff in pending putative class action

      alleging misclassification and related labor code violations.

   • Nguyen v. Southern Glazer’s Wine & Spirits, No. 5:17-CV-03805-LHK (N.D.

      Cal) (Hon. Lucy H. Koh): lead attorney (by agreement) for plaintiffs in

      pending class action alleging contract, fraud, and anti-trust violations against

      the nation’s largest liquor distributor.

   • Neumann v. Apple, Inc., No. 5:18-CV-00324-EJD (N.D. Cal.) (Hon. Edward

      J. Davila): counsel for plaintiff in recently-filed putative class action alleging

      contract, fraud, and consumer protection claims arising out of defective

      mobile phone batteries.

      D.     Scott Cole Has Sufficient Resources for this MDL

      Cole can unequivocally assure the Court that he has sufficient resources to

undertake a leading role in this MDL. As his many successes illustrate, he is

committed to going the distance and sparing no expense to best represent his clients’

interests and those of the putative class. Furthermore, as discussed above, Cole has

already demonstrated his commitment to the case and consumer plaintiff class since

September 2017 when he began litigating this case.




                                          16
      Case 1:17-md-02800-TWT Document 188 Filed 02/02/18 Page 17 of 20




      SCA boasts five attorneys 6 and can be staffed appropriately, 7 depending on

the type and amount of work and without duplicating efforts. As the Court is aware,

individual roles on MDL steering committees can take many forms. Cole and his

firm are ready and willing to assist with any of the following areas:

      a.     Coordinating and conducting pretrial discovery;

      b.     Developing and proposing schedules for the commencement,

             execution, and completion of plaintiffs’ discovery on behalf of all

             plaintiffs;

      c.     Calling meetings of plaintiffs’ counsel, coordinating responses to

             questions of other parties or of the Court, and/or initiating joint briefs

             in pretrial proceedings;

      d.     Examining witnesses at hearings and/or depositions;

      e.     Appearing at pretrial hearings and other proceedings;




6
  The Court should note that Mr. Rumberger is also committed to the prosecution of
this case, has assisted and will continue to assist in its prosecution, not as a PSC
member, but alongside Mr. Cole’s office.
7
  SCA’s firm size has always remained flexible and tracks its current and foreseeable
litigation commitments—if SCA needed more lawyers, it can and would hire more
lawyers. Indeed, Cole is certainly seasoned enough to understand what class actions
entail but also does not believe in waste. Should this case demand more firepower,
Cole is ready to commit it.
                                          17
Case 1:17-md-02800-TWT Document 188 Filed 02/02/18 Page 18 of 20




f.    Drafting and arguing motions presented to the Court or Magistrate on

      behalf of the Plaintiffs’ Steering Committee, and opposing any motions

      submitted by Defendants or other parties;

g.    Negotiating and entering into stipulations with Defendants regarding

      this litigation;

h.    Developing settlement strategies for claims or portions thereof of any

      case in this MDL;

i.    Maintaining adequate files of all pretrial matters and making them

      available to plaintiffs and/or their attorneys under reasonable terms and

      conditions;

j.    Preparing periodic status reports summarizing the Plaintiffs’ Steering

      Committee’s work and progress, and submitting them to Liaison

      Counsel for distribution; and

k.    Performing any other task necessary for the Plaintiffs’ Steering

      Committee to accomplish its duties as defined by the Court’s orders.




                                  18
     Case 1:17-md-02800-TWT Document 188 Filed 02/02/18 Page 19 of 20




V.    CONCLUSION

      As Scott Cole of Scott Cole & Associates would be an invaluable member of

such a team, he hereby respectfully requests appointment to the Consumer Plaintiffs’

Steering Committee.



Dated: February 2, 2018               Respectfully Submitted,


                                      /s/ Scott Edward Cole
                                      Scott Edward Cole, Esq.
                                      SCOTT COLE & ASSOCIATES, APC
                                      1970 Broadway, 9th Floor
                                      Oakland, CA 94612
                                      Telephone: (510) 891-9800
                                      Facsimile: (510) 891-7030
                                      Email:      scole@scalaw.com

                                      Proposed Consumer PSC Member




                                        19
      Case 1:17-md-02800-TWT Document 188 Filed 02/02/18 Page 20 of 20




                         CERTIFICATE OF SERVICE



      I hereby certify that, on February 2, 2018, I electronically filed the foregoing

document through CM/ECF System, which will provide electronic service

notification to all counsel of record registered as CM/ECF users, and that a courtesy

copy will be served on Court chambers.

      Respectfully submitted this 2nd day of February 2018.



                                                    /s/ Scott Edward Cole
                                                    Scott Edward Cole




                                         20
